Case 21-54507-wlh      Doc 29   Filed 11/19/21 Entered 11/19/21 09:17:48          Desc Main
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  IT IS ORDERED as set forth below:



  Date: November 19, 2021

                                          _____________________________________
                                                     Wendy L. Hagenau
                                                U.S. Bankruptcy Court Judge

_______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE                                            :      CASE NO. 21-54507-WLH
                                                 :
TAMARA R. FLOYD,                                 :       CHAPTER 7
                                                 :
        DEBTOR.                                  :

                              ORDER DISMISSING CASE

        On October 13, 2021, the United States Trustee filed and served a motion to dismiss

this case pursuant to Bankruptcy Code section 707(a). (Dkt. No. 20) (the “Motion”). The

Motion was scheduled for hearing November 18, 2021. At the call of the calendar, Alan

Hinderleider appeared on behalf of the United States Trustee and there was no appearance

on behalf of the debtor. No objections were filed and no one appeared at the call of the

calendar in opposition to the Motion. The Court, having reviewed the record in the case,

finds sufficient cause to grant the unopposed Motion. Accordingly, it is


        ORDERED that the Motion is granted and this case is DISMISSED.


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      The Clerk shall serve this order on the debtor, the chapter 7 trustee, the United States
Trustee, and mailing matrix.
                                [END OF DOCUMENT]



Prepared and submitted by:
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Mailing Matrix




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